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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                         Case No. 15-cr-20723
                                               Hon. Matthew F. Leitman
v.

D5, KAMANI JACOBS,

          Defendant.
__________________________________________________________________/

          ORDER DENYING DEFENDANT KAMANI JACOBS’
             MOTION TO VACATE DETENTION ORDER
          DUE TO CHANGE OF CIRCUMSTANCES (ECF #108)

     On August 22, 2016, counsel for Defendant Kamani Jacobs filed a Motion to

Vacate Detention Order Due to Change of Circumstances (the “Motion”). (See ECF

#108.) The Court held a hearing on the Motion on September 22, 2016. For the

reasons stated on the record at the September 22, 2016, hearing, IT IS HEREBY

ORDERED that the Motion (ECF #108) is DENIED.


                                    s/Matthew F. Leitman
                                    MATTHEW F. LEITMAN
                                    UNITED STATES DISTRICT JUDGE

Dated: September 23, 2016
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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on September 23, 2016, by electronic means and/or
ordinary mail.

                                     s/Holly A. Monda
                                     Case Manager
                                     (313) 234-5113
